GRANT F. LANGLEY                                                                                                           STUART S. MUKAMAL
City Attorney                                                                                                              THOMAS J. BEAMISH
                                                                                                                           MAURITA F. HOUREN
LINDA ULISS BURKE                                                                                                          JOHN J. HEINEN
                                                                                                                           SUSAN E. LAPPEN
VINCENT D. MOSCHELLA                                                                                                       JAN A. SMOKOWICZ
MIRIAM R. HORWITZ                                                                                                          PATRICIA A. FRICKER
ADAM B. STEPHENS                                                                                                           HEIDI WICK SPOERL
Deputy City Attorneys                                                                                                      KURT A. BEHLING
                                                                                                                           GREGG C. HAGOPIAN
                                                                                                                           ELLEN H. TANGEN
                                                                                                                           JAY A. UNORA
                                                                                                                           KATHRYN Z. BLOCK
                                 Milwaukee City Hall Suite 800200 East Wells StreetMilwaukee, Wisconsin 53202-3551   KEVIN P. SULLIVAN
                                         Telephone: 414.286.2601TDD: 414.286.2025Fax: 414.286.8550                   THOMAS D. MILLER
                                                                                                                           JARELY M. RUIZ
                                                                                                                           ROBIN A PEDERSON
                                                                                                                           JEREMY R. MCKENZIE
                                                                                                                           MARY L. SCHANNING
              December 23, 2015                                                                                            PETER J. BLOCK
                                                                                                                           NICHOLAS P. DESIATO
                                                                                                                           JOANNA GIBELEV
              The Honorable Lynn Adelman                                                                                   JENNY YUAN
                                                                                                                           KAIL J. DECKER
              United States District Judge                                                                                 ALLISON N. FLANAGAN
              United States Courthouse                                                                                     LA KEISHA W. BUTLER
                                                                                                                           PATRICK J. LEIGL
              517 E. Wisconsin Avenue, Room 364                                                                            HEATHER H. HOUGH
                                                                                                                           ANDREA J. FOWLER
              Milwaukee, WI 53202                                                                                          PATRICK J. MCCLAIN
                                                                                                                           NAOMI E. GEHLING
                                                                                                                           CALVIN V. FERMIN
              Re:       Ashford et al. v. City of Milwaukee, et al.                                                        BENJAMIN J. ROOVERS
                                                                                                                           Assistant City Attorneys
                        Case Number: 13C0771
                        and other related cases

              Dear Judge Adelman:

              I write to formally advise you that on December 15, 2015, the City Attorney submitted a
              proposed settlement agreement for approval by the Common Council for the City of
              Milwaukee. The settlement pertains to the cases listed at the close of this letter, as well
              claims that have not been filed as lawsuits by eight additional persons. Based on the
              Council’s calendar, it is anticipated that the Council could adopt the authorizing
              resolution at its January 19, 2016 meeting, subject to mayoral review. If not vetoed, the
              resolution would become effective on or about January 29, 2016.

              To provide consistent information to the other courts involved in these related cases, I am
              filing a copy of this letter as indicated below in each case and court listed below.

              We appreciated your assistance with the mediation of these matters, as well as the
              patience and cooperation of all of the courts who have had these cases.

              Very truly yours,

              s/Miriam R. Horwitz
              Miriam R. Horwitz
              Deputy City Attorney

              c: All Counsel of Record
              1032-2013-1955:223905




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       Ashford, et al. v. City of Milwaukee, et al.   Hon. Lynn
       R.M. v. City of Milwaukee, et al.              Adelman        13-CV-00771
       D.J.B., et al. v. City of Milwaukee, et al.
       Biami, et al. v. City of Milwaukee, et al.

       Caine v. City of Milwaukee, et al.             Hon.    J.P.   14-CV-01548
                                                      Stadtmueller

       Collier v. City of Milwaukee, et al.           Hon.    J.P.   15-CV-00311
                                                      Stadtmueller

       Dotson v. City of Milwaukee, et al.            Hon.           15-CV-00197
                                                      Pamela
                                                      Pepper

       Freeman v. City of Milwaukee, et al.           Hon. Nancy     13-CV-00918
                                                      Joseph

       Gibson v. City of Milwaukee, et al.            Hon.           13-CV-01021
                                                      Charles N.
                                                      Clevert, Jr.

       Hoskin v. City of Milwaukee, et al.            Hon.    J.P.   13-CV-00920
                                                      Stadtmueller

       Lawrence v. City of Milwaukee, et al.          Hon.           14-CV-00312
                                                      Rudolph T.
                                                      Randa

       Mann v. City of Milwaukee, et al.              Hon.           13-CV-00919
                                                      Charles N.
                                                      Clevert, Jr.

       Mukes v. City of Milwaukee, et al.             Hon.           13-CV-01268
                                                      Pamela
                                                      Pepper




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       Phillips v. City of Milwaukee, et al.       Hon.           15-CV-00679
                                                   Charles N.
                                                   Clevert, Jr.

       R.S., et al. v. City of Milwaukee, et al.   Hon.           13-CV-01485
                                                   Pamela
                                                   Pepper

       Ragland v. City of Milwaukee, et al.        Hon. Lynn      13-CV-01118
                                                   Adelman

       Wright v. City of Milwaukee, et al.         Hon. Lynn      13-CV-01028
                                                   Adelman




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